Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 1 of 12 PageID: 642




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



 JOON BANG, RAZVAN VICTOR                             Case No. 2:15-cv-06945 (MCA)(LDW)
 BENGULESCU, GERALD BEZEMS, SCOTT
 CROCKETT, RIFAT GORENER,
 CHRISTOPHER LESIEUR, LAWRENCE
 MARCUS, and MIKHAIL SULEYMANOV,
 individually and on behalf of all others similarly
 situated,

                               Plaintiff,

        v.

 BMW OF NORTH AMERICA, LLC,
 BAVARIAN MOTOR WORKS, and DOES 1
 through 10, inclusive,

                               Defendants.




    REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANT BMW OF NORTH
  AMERICA, LLC’S MOTION TO DISMISS PLAINTIFFS’ CONSOLIDATED SECOND
                  AMENDED CLASS ACTION COMPLAINT




                                                      Rosemary J. Bruno
                                                      Christopher J. Dalton
                                                      Daniel Z. Rivlin
                                                      Lauren A. Woods
                                                      BUCHANAN INGERSOLL & ROONEY PC
                                                      Incorporated in Pennsylvania
                                                      550 Broad Street, Suite 810
                                                      Newark, New Jersey 07102
                                                      973-273-9800
                                                      Attorneys for Defendant,
                                                       BMW of North America, LLC
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 2 of 12 PageID: 643



                                                    TABLE OF CONTENTS

 TABLE OF AUTHORITIES .......................................................................................................... ii

 PRELIMINARY STATEMENT ....................................................................................................1

 LEGAL ARGUMENT .....................................................................................................................1

 POINT ONE.....................................................................................................................................1

     DISMISSAL OF PLAINTIFFS’ CLASS ALLEGATIONS IS WARRANTED .......................1

 POINT TWO ....................................................................................................................................3

     PLAINTIFFS’ EXCLUSIVE REMEDY FOR BENEFIT-OF-THE BARGAIN
     DAMAGES IS THE WARRANTY REPAIRS THEY HAVE RECEIVED .............................3

 POINT THREE ................................................................................................................................4

     PLAINTIFFS’ STATUTORY CONSUMER-FRAUD CLAIMS FAIL ....................................4

     A. Dismissal Of Plaintiffs’ Nationwide Class Under The NJCFA Is Appropriate ....................4

     B. Plaintiffs Have Not Adequately Alleged Ascertainable Loss ...............................................5

 POINT FOUR ..................................................................................................................................6

     DISMISSAL OF PLAINTIFFS’ WARRANTY CLAIMS IS NOT PREMATURE .................6

     A. Plaintiffs Cannot Pursue Either A Nationwide Breach-Of-Warranty Class Action
        Or A Nationwide MMWA Class ..........................................................................................6

     B. Plaintiffs’ Express-Warranty And Implied-Warranty Claims Fail Because
        BMW NA Is Fulfilling Its Warranty Obligations And The Vehicles Are
        Merchantable.........................................................................................................................8

 CONCLUSION ................................................................................................................................8




                                                                       i
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 3 of 12 PageID: 644



                                              TABLE OF AUTHORITIES



 CASES

 Arlandson v. Hartz Mountain Corp.,
   792 F. Supp. 2d 691 (D.N.J. 2011) ............................................................................................. 7

 Asghari v. Volkswagen Grp. of Am., Inc.,
   42 F. Supp. 3d 1306 (C.D. Cal. 2013) .................................................................................... 7, 8

 Avram v. Samsung Elecs. Am., Inc.,
   2013 WL 3654090 (D.N.J. July 11, 2013) .................................................................................. 4

 Block v. Jaguar Land Rover North America, LLC,
   2016 WL 3032682, (D.N.J. May 26, 2016) ................................................................................ 4

 Daugherty v. American Honda Motor Co.,
   144 Cal. App. 4th 824 (Ct. App. 2006) ........................................................................................ 7

 Ehrhart v. Synthes (USA),
   2007 WL 4591276 (D.N.J. Dec. 28, 2007) ................................................................................. 1

 Green v. Green Mountain Coffee Roasters, Inc.,
   279 F.R.D. 275 (D.N.J. 2011) ..................................................................................................... 2

 In re Toyota Motor Corp.,
    790 F. Supp. 2d 1152 (C.D. Cal. 2011) ...................................................................................... 3

 In re Vioxx Prods. Liab. Litig. (County of Santa Clara v. Merck & Co.),
    861 F.Supp. 2d 756 (E.D. La. 2012) ........................................................................................... 4

 Kuzian v. Electrolux Home Products, Inc.,
   937 F. Supp. 2d 599 (D.N.J. 2013) ......................................................................................... 3, 4

 Lujan v. Defenders of Wildlife,
   504 U.S. 555, 112 S. Ct. 2130 (1992) ......................................................................................... 4

 Luppino v. Mercedes-Benz USA, LLC,
   2013 WL 6047556 (D.N.J. Nov. 12, 2013) ............................................................................... 1

 Maniscalco v. Brother Int’l (USA) Corp.,
  709 F.3d 202 (3d Cir. 2013)........................................................................................................ 4




                                                                   ii
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 4 of 12 PageID: 645



 Payne v. FujiFilm, U.S.A., Inc.,
   2010 WL 2342388 (D.N.J. May 28, 2010) ................................................................................. 7

 Price v. Kawasaki Motors Corp., USA,
   2011 WL 10948588 (C.D. Cal. Jan. 24, 2011) ....................................................................... 7, 8

 Thiedemann v. Mercedes-Benz, USA, LLC,
   183 N.J. 234 (2005) ............................................................................................................ 3, 5, 8

 T.J. McDermott Trans. Co., Inc. v. Cummins, Inc.,
   2015 WL 1119475 (D.N.J. 2015) ............................................................................................... 1


 RULES


 Rule 12(b)(6) ............................................................................................................................... 4, 8




                                                                        iii
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 5 of 12 PageID: 646



                                 PRELIMINARY STATEMENT

        Plaintiffs’ Opposition (“Plaintiffs’ Opp.”) incorrectly asserts that Defendant BMW of

 North America, LLC’s (“BMW NA”) request for dismissal of Plaintiffs’ claims is premature,

 notwithstanding that all the facts necessary to make that determination are already before this

 Court. Ironically, it is Plaintiffs’ claims that are premature considering BMW NA has been

 satisfying its warranty obligations and none of the Plaintiffs has incurred any expense or loss,

 including the kind of hypothetical engine damage or failure they allege. Accordingly, this Court

 does not need to wait and should dismiss Plaintiffs’ Consolidated Second Amended Class Action

 Complaint (“SAC”).

                                      LEGAL ARGUMENT

                                            POINT ONE

        DISMISSAL OF PLAINTIFFS’ CLASS ALLEGATIONS IS WARRANTED.

        Plaintiffs’ argument that striking class allegations at the pre-answer stage is premature

 ignores the fact that courts do exactly that when the facts necessary to make that decision are

 already before the court. That is the case here. Plaintiffs attempt to convince this Court there is

 a bright-line rule mandating denial pre-answer motions that seek to dismiss class allegations;

 however, the cases relied upon by Plaintiffs establish the opposite. See, e.g., T.J. McDermott

 Trans. Co., Inc. v. Cummins, Inc., 2015 WL 1119475 (D.N.J. 2015) (“choice of law issues can be

 resolved at the motion to dismiss stage, [provided] the district court [has] enough factual

 information to conduct the choice of law analysis”) (internal citation omitted); see also Ehrhart

 v. Synthes (USA), 2007 WL 4591276, at *4-5 (D.N.J. Dec. 28, 2007) (acknowledging “a district

 court may strike class action allegations prior to discovery...”) (emphasis added); Luppino v.

 Mercedes-Benz USA, LLC, 2013 WL 6047556, at *3 (D.N.J. Nov. 12, 2013) (a defendant may


                                                  1
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 6 of 12 PageID: 647



 move to strike class action allegations where the complaint itself demonstrates that the

 requirements for maintaining a class action cannot be met). Moreover, BMW NA’s moving

 papers reference numerous additional instances where courts in the District of New Jersey

 granted pre-answer motions to strike class allegations. (See DE 35-1, pp. 16-17.) In furtherance

 of their unavailing position, Plaintiffs also unsuccessfully attempt to mask the applicability of

 Green v. Green Mountain Coffee Roasters, Inc., which is directly on point. In particular,

 Plaintiffs contend that they have alleged common design and/or manufacturing defects, but the

 same was true in Green. See Green v. Green Mountain Coffee Roasters, Inc., 279 F.R.D. 275,

 284 (D.N.J. 2011) (“Green’s primary allegation is that Defendants misrepresented that the

 machines would brew a specific amount of beverage”). Here, exactly as in Green, the real issue

 is the commonality of experiencing the alleged defects. See id. (finding that common issues did

 not predominate where members of the class had not suffered pump failure). As set forth in

 Plaintiffs’ SAC and as BMW NA has already demonstrated, Plaintiffs’ claimed experiences of

 the alleged defects are varied: for example, some have experienced both the alleged oil

 consumption defect and battery defect and some have not. Additionally, only two have allegedly

 incurred any out-of-pocket expense by paying for oil, but the rest have not.1 (See DE 35-1, p.

 14.) Since the pleadings make clear that common issues of fact do not predominate, dismissal of

 Plaintiffs’ class allegations is appropriate at this juncture.




 1
  Plaintiffs even acknowledge the varied nature of their claims. (See DE 38, p. 22) (“For
 example, two Plaintiffs – Plaintiff Suleymanov and Plaintiff Marcus – alleged they paid out-of-
 pocket for additional quarts of engine oil and have not been reimbursed by Defendants for these
 purchases”). And this claim ignores they could have gone to a BMW dealership and received oil
 for free.
                                                  2
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 7 of 12 PageID: 648



                                           POINT TWO

 PLAINTIFFS’ EXCLUSIVE REMEDY FOR BENEFIT-OF-THE BARGAIN DAMAGES
            IS THE WARRANTY REPAIRS THEY HAVE RECEIVED.

        Plaintiffs rebut BMW NA’s Article III standing argument on the grounds they allegedly

 have not received the benefit of their bargains – conveniently, however, Plaintiffs’ ignore they

 are already receiving the remedy for such claimed damages because BMW NA is addressing

 their issues through warranty coverage.

        With the exception of Plaintiffs Marcus and Suleymanov, who voluntarily elected to pay

 for engine oil instead of going to a BMW dealership and receiving free oil under warranty,

 Plaintiffs concede they have not alleged any other out-of-pocket monetary damages. (See DE 38,

 p. 22.) Instead, Plaintiffs contend that monetary damages have been sustained in the form of

 benefit-of-the-bargain damages and diminution in value. In support, Plaintiffs rely upon In re

 Toyota Motor Corp., but while it is true that standing may exist for such damages, this is only the

 case where warranty coverage has been denied. See In re Toyota Motor Corp., 790 F. Supp.2d

 1152, 1167 (C.D. Cal. 2011) (“[t]he exclusive remedy for those who have experienced a defect

 or malfunction is to obtain warranty repairs from an authorized dealer”); see also Thiedemann v.

 Mercedes-Benz, USA, LLC, 183 N.J. 234 (2005) (holding that there are no out-of-pocket losses

 where the repairs were performed under warranty at no cost to the vehicle owners). In re Toyota

 Motor Corp., is inapposite because BMW NA has been honoring its warranty and the only two

 Plaintiffs who have claimed monetary damages could have received oil under their warranties if

 they had elected to take their vehicles to BMW dealerships. Without more, Plaintiffs lack

 Article III standing and their claims must be dismissed.2



 2
  Any alleged “future” or “hypothetical” damages are merely conclusory allegations and not
 entitled, without more from Plaintiffs, to consideration at this time. Kuzian v. Electrolux Home
                                                  3
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 8 of 12 PageID: 649



                                          POINT THREE

            PLAINTIFFS’ STATUTORY CONSUMER-FRAUD CLAIMS FAIL.

    A. Dismissal Of Plaintiffs’ Nationwide Class Under The NJCFA Is Appropriate.

        Plaintiffs cannot seek to apply the NJCFA nationwide – and it is not too early for the

 Court to say so. One of the most recent decisions from the District of New Jersey is analogous to

 the matter presently before this Court -- and supports BMW NA’s argument that (1) the NJCFA

 cannot apply nationwide and (2) this conclusion can be reached at the motion-to-dismiss stage.

 In Block v. Jaguar Land Rover North America, LLC, the court performed a choice-of-law

 analysis, adopted the reasoning set forth in Maniscalco v. Brother Int’l (USA) Corp., 709 F.3d

 202, 206-207 (3d Cir. 2013), and agreed with Jaguar that the NJCFA cannot be applied

 nationwide simply because the defendant is located in New Jersey. See Block v. Jaguar Land

 Rover North America, LLC, 2016 WL 3032682, at *3 (D.N.J. May 26, 2016).3 Ultimately, the

 court in Block held that Massachusetts had the most significant relationship to the plaintiff’s

 consumer-fraud claim because the sole connection to New Jersey was the location of Jaguar’s

 headquarters, and dismissed the claim on a Rule 12(b)(6) motion. The same is true here, and



 Products, Inc., 937 F.Supp.2d 599, 609 (D.N.J. 2013) (citing Lujan v. Defenders of Wildlife, 504
 U.S. 555, 560, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992) (“a plaintiff must have suffered an
 injury-in-fact, … that is (a) concrete and particularized and (b) actual or imminent, not
 conjectural or hypothetical”)).
 3
   To the extent that Plaintiffs take issue with the fact that BMW NA failed to reference the
 contrary decision made in In re Mercedes-Benz Tele Aid Contract Litigation, that argument is a
 stretch, as the reasoning set forth in that opinion and it’s underlying case have been criticized by
 subsequent decisions. See Maniscalco, supra, 709 F.3d at 210 (“[w]hile, to be sure, New Jersey
 has an interest in deterring misconduct by corporations headquartered within its borders, it is far
 from clear that this interest would be sufficient to outweigh other significant contacts with a
 plaintiffs home state”); see also Avram v. Samsung Elecs. Am., Inc., 2013 WL 3654090, at *17
 (D.N.J. July 11, 2013) (“[m]ore to the point, no subsequent case has followed Mercedes-Benz,
 and many have found that its reasoning went too far”); see also In re Vioxx Prods. Liab. Litig.
 (County of Santa Clara v. Merck & Co.), 861 F. Supp. 2d 756, 765 (E.D. La. 2012) (“that
 opinion is an outlier”).
                                                     4
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 9 of 12 PageID: 650



 dismissal is appropriate.4 This is certainly so for Plaintiffs’ claims that New Jersey law should

 apply to all Plaintiffs when only one Plaintiff (Suleymanov), although not a resident of New

 Jersey, purchased his vehicle here. At best, only Plaintiff Suleymanov’s NJCFA claim survives,

 but that only further serves to support that dismissal of the class allegations is appropriate as the

 law of multiple states would apply to Plaintiffs’ asserted class.5 See Point One, supra.

     B. Plaintiffs Have Not Adequately Alleged Ascertainable Loss.

        Plaintiffs contend that they have suffered ascertainable loss in the form of benefit-of-the-

 bargain damages and diminution in value. But Plaintiffs’ pleadings are not sufficient merely

 because of the fact that they allegedly suffered such damages. The principal adopted by the New

 Jersey Supreme Court in Thiedemann is instructive here:

                Essentially, what plaintiffs urge here is that they are entitled to a
                Mercedes-Benz motor vehicle without any flaws or glitches,
                without any reasonably-remediable problems, and without any of
                the ordinary tribulations of automobile ownership or lease: in other
                words, a perfect car unaffected by the laws of physics and common
                sense. Plaintiffs are not so entitled, and they may not seek legal
                remedies because of their unrealistic disappointment.

 Thiedemann, 183 N.J. at 243 (internal quotation omitted).

        And while out-of-pocket losses may not be necessary, in order for Plaintiffs to satisfy the

 NJCFA’s ascertainable loss requirement, Plaintiffs still “must produce evidence from which a

 factfinder could find or infer that [they] suffered an actual loss.” Thiedemann, 183 N.J. at 248

 (emphasis added). Such loss must be “quantifiable” or “measurable.” Ibid. Significantly, even

 4
   Disingenuously, Plaintiffs argue that they have already suffered economic losses based on their
 “reasonable expectations” as to service intervals at the time of purchase. Plaintiffs again ignore
 that service intervals were subject to change, as clearly set forth in the Service and Warranty
 Information booklet for each vehicle. (See DE 35-1, p. 12.) (“The maintenance items stated
 herein … are subject to change”).
 5
   BMW NA says “at best” because, if Suleymanov’s NJCFA claim survives this motion -- and it
 shouldn’t -- it would still be subject to a choice-of-law analysis which will likely demonstrate
 that his home state of New York has the greater interest in seeing its law applied.
                                                    5
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 10 of 12 PageID: 651



 taking Plaintiffs’ defects allegations as true, “[t]he mere fact that an automobile defect arises

 does not establish, in and of itself, an actual and ascertainable loss to the vehicle purchaser.

 Indeed, the warranty provided as part of the contract of sale or lease is part of the benefit of the

 bargain between the parties. The defects that arise and are addressed by warranty, at no cost to

 the consumer, do not provide the predicate loss that the NJCFA expressly requires ...” Id. at 252

 (emphasis added). Here, although Plaintiffs do not agree with BMW NA’s measures, they have

 not, and indeed cannot, argue that BMW NA has not addressed Plaintiffs’ concerns under

 warranty. Moreover, the New Jersey Supreme Court also rejected, albeit at the summary-

 judgment stage, unsupported allegations of diminution in value, and similarly declined to accept

 an argument of “loss” under the NJCFA on the basis that gas was used by the technician in

 diagnosing the vehicle’s problem. Id. at 252-253. Here, BMW NA’s warranty is addressing

 Plaintiffs’ alleged defects and, in the absence of anything but mere speculation, Plaintiffs have

 failed to adequately plead actual loss. (See DE 35-1, p. 14.)

                                            POINT FOUR

      DISMISSAL OF PLAINTIFFS’ WARRANTY CLAIMS IS NOT PREMATURE.

    A. Plaintiffs Cannot Pursue Either A Nationwide Breach-Of-Warranty Class Action
       Or A Nationwide MMWA Class.

        Plaintiffs wrongly argue that BMW NA has not identified any actual conflicts of law

 necessitating a choice-of-law analysis. In fact, BMW NA cited case law where courts

 specifically held that such conflicts exist. (See DE 35-1, pp. 23-24.) And, once again, Plaintiffs

 ignore the facts before the Court and urge for the application of a nonexistent bright-line rule.

 As set forth above, “[s]ome choice of law issues may not require a full factual record and may be

 amenable to resolution on a motion to dismiss. As such, courts in this Circuit have sometimes

 determined that the choice of law analysis in a putative class action can be done at the motion to

                                                   6
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 11 of 12 PageID: 652



 dismiss stage.” Arlandson v. Hartz Mountain Corp., 792 F. Supp. 2d 691, 700 (D.N.J. 2011)

 (internal citations omitted). Based on the SAC’s factual allegations, the Court need not wait

 until the class-certification stage to make a decision.6 Because all of the necessary information is

 before this Court right now -- the states where Plaintiffs’ reside, purchased their vehicles, and

 had their vehicles serviced -- there is no need to wait. It is not too soon to dismiss Plaintiffs’

 claim for a nationwide breach-of-warranty; indeed, postponing the decision to the class-

 certification stage won’t change the outcome.7

        Further, Plaintiffs’ claims notwithstanding, the MMWA does not create an independent

 federal cause of action; the MMWA claim is dependent upon a plaintiff’s state-law warranty

 claims. Price v. Kawasaki Motors Corp., USA, 2011 WL 10948588, at *7 (C.D. Cal. Jan. 24,

 2011), citing Daugherty v. American Honda Motor Co., 144 Cal.App. 4th 824 (Ct. App. 2006)

 (MMWA calls for application of state written-warranty and implied-warranty laws, not the

 creation of additional federal law); see also, Asghari, supra, 42 F. Supp. 3d at 1340 (dismissing

 express-warranty claim brought under MMWA because the plaintiffs’ state-law express-

 warranty claims also failed).




 6
   In Payne v. FujiFilm, U.S.A., Inc., 2010 WL 2342388, at *9 (D.N.J. May 28, 2010), the court
 performed a choice-of-law analysis with respect to the warranty claims at the class certification
 stage. The court considered the exact same information that is included in Plaintiffs’ pleadings
 and can be considered by this Court right now, such as where the breaches occurred and the fact
 that the defendant maintained a service center in New Jersey, and found that because the
 products were purchased in the class members’ home states, those states had the most significant
 relationship to the contract. Ibid.
 7
   To the extent that Plaintiffs’ MMWA claim is derived from the breach-of-express-warranty
 claim, it must also fail. Asghari v. Volkswagen Grp. of Am., Inc., 42 F. Supp. 3d 1306, 1340
 (C.D. Cal. 2013) (dismissing MMWA claim to the extent that it was based on the breach-of-
 express-warranty claim).
                                                  7
Case 2:15-cv-06945-MCA-SCM Document 41 Filed 06/07/16 Page 12 of 12 PageID: 653



    B. Plaintiffs’ Express –Warranty And Implied-Warranty Claims Fail Because BMW
       NA Is Fulfilling Its Warranty Obligations And The Vehicles Are Merchantable.

        Plaintiffs contend that Thiedemann is not an analogous case, but this is simply not true.

 In Thiedemann, the plaintiffs alleged the exact same future hypothetical diminution-in-value

 damages that Plaintiffs allege here. Thiedemann, 183 N.J. at 252. Moreover, many of the cases

 cited by Plaintiffs are distinguishable on their facts. See Price, 2011 WL 10948588, at *1

 (alleging Kawasaki did not make any repairs); see also Asghari, 42 F. Supp. 3d at 1338 (where

 Volkswagen failed to act with respect to vehicles under warranty). Ultimately, the facts before

 the Court here make clear that BMW NA is fulfilling its warranty obligations. As such,

 dismissal is appropriate.

                                           CONCLUSION

        For the reasons set forth in BMW NA’s Opening Brief and as reinforced above, the Court

 should dismiss the entirety of Plaintiffs’ Consolidated Second Amended Class Action Complaint

 pursuant to Rule 12(b)(6) for failure to state a claim or, at a minimum, strike Plaintiffs’

 nationwide class-action allegations.



                                            Respectfully submitted,

                                            BUCHANAN INGERSOLL & ROONEY PC

                                             By _s/Daniel Z. Rivlin_______
                                               ROSEMARY J. BRUNO
                                               CHRISTOPHER J. DALTON
                                               DANIEL Z. RIVLIN
                                               LAUREN A. WOODS
                                                 Attorneys for Defendant
                                                  BMW of North America, LLC
 Dated: June 7, 2016




                                                   8
